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UN|TED STATES OF AN|ER|CA
Plaintiff, Cr. NO. 0 5 - 1 0 0 4 3 - T

V.

GU|LLERMO OROZCO-BOBAD|LLA,
Defendant.

 

APPL|CATlON, ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDUM

 

The United States Attorney’s Office applies to the Court for a Writ to have GU|LLERMO
OROZCO-BOBADlLLA, lnmate#A73089516, now being detained in the Tensas Parish Detention
Facility, 8606 l-lighway 65, Waterproof, LA, telephone (318) 749-5810, appear before the
Honorable S. Thomas Anderson on Nionday, August 8, 2005, at 2:00 p.m. for initial appearance
in this case and for such other appearances as this Court may direct.

Respectfully submitted this 5a day of July 2005.

%@M

J MEsW. Pov\l~aiL
ssistant U. S. Attorney

 
  
 

 

ORDER

 

Upon consideration of the foregoing Application,
David Jolley, U.S. l\/larshall, Western District of Tennessee, and Tensas Parish Sheriff

VOU ARE HEREBY COMMAN DED to have GU|LLERMO OROZCO-BOBADlLLA appear
before the Honorable S. Thomas Anderson at the date and time aforementioned

 

 

 

ENTERED this al g day of S/LLQAI 2005.
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Thls document entered on the docket sheet in compliance ° h W"
wh mile 55 ander 32(1)) zech en _'__lf l ijO__§_ 3- THOMAS ANDERSON
' United States Magistrate Judge

ISTRIC COURT -WE TER D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 1:05-CR-10043 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

